           Case 24-00350-eg                 Doc 6         Filed 02/02/24 Entered 02/02/24 14:03:47                            Desc Main
                                                          Document      Page 1 of 43




Fill in this information to identify the case:

Debtor name         On The Level Construction, LLC

United States Bankruptcy Court for the:     DISTRICT OF SOUTH CAROLINA

Case number (if known)    24-00350
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       February 2, 2024                X /s/ Samuel Kaufman
                                                           Signature of individual signing on behalf of debtor

                                                            Samuel Kaufman
                                                            Printed name

                                                            Sole Owner
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
               Case 24-00350-eg                                 Doc 6              Filed 02/02/24 Entered 02/02/24 14:03:47                                                        Desc Main
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 Fill in this information to identify the case:

 Debtor name            On The Level Construction, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF SOUTH CAROLINA

 Case number (if known)               24-00350
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           303,975.80

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           303,975.80


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           322,935.76


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           716,300.03


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,039,235.79




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
            Case 24-00350-eg                Doc 6        Filed 02/02/24 Entered 02/02/24 14:03:47                                 Desc Main
                                                         Document      Page 3 of 43
Fill in this information to identify the case:

Debtor name         On The Level Construction, LLC

United States Bankruptcy Court for the:     DISTRICT OF SOUTH CAROLINA

Case number (if known)       24-00350
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   First Citizens Business Checking
          3.1.     Account #XXXXX3340 - [-$5,743.86]                 Business Checking                     3340                                             $0.00



                   First Citizens Business Savings
          3.2.     Account# XXXXXXX5426 - $70.06                     Business Savings                      5426                                         $70.06



                   First Citizens Business Savings
          3.3.     Account# XXXXXXX5434 - $70.06                     Business Savings                      5434                                         $70.06



                   First Citizens Business Savings
          3.4.     Account# XXXXXXX5837 - $65.15                     Business Savings                      5837                                         $65.15



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                        $205.27
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor           On The Level Construction, LLC                                             Case number (If known) 24-00350
                 Name



7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit
                   Commercial Lease Deposit paid to: Marabu U.S. Properties, 960 Morrison Avenue, #400,
          7.1.     Charleston, SC 29403                                                                                                  $3,800.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                            $3,800.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                     45,356.98      -                             20,000.00 = ....                   $25,356.98
                                       face amount                            doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                          $25,356.98
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used    Current value of
                                             physical inventory            debtor's interest         for current value        debtor's interest
                                                                           (Where available)

19.       Raw materials
          Substantially all
          inventory is client
          owned and paid for
          specific jobs including,
          but not limited to,
          flooring tile, caulk,
          cabinets, trim, schlutter,
          grout, onyx shower
          system, fixtures, paint,
          primer, drywall, and
          other miscellaneous
          items.                                                                          $0.00      Liquidation                           $500.00



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 2
           Case 24-00350-eg                  Doc 6        Filed 02/02/24 Entered 02/02/24 14:03:47                          Desc Main
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Debtor       On The Level Construction, LLC                                                 Case number (If known) 24-00350
             Name

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                              $500.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          8 office chairs, 3 desks, conference table, side
          table, printer table, cabinet, white boards, and
          warehouse table.                                                                $0.00     Liquidation                            $700.00



40.       Office fixtures
          Flooring, tile, and cabinets displays.                                          $0.00     Liquidation                            $150.00



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          3 iPads, two printers, visualizer/computer,
          warehouse computer, refrigerator, microwave,
          two landline phones, internet modem, and
          kuerig coffee maker.                                                            $0.00     Liquidation                            $950.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
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Debtor       On The Level Construction, LLC                                            Case number (If known) 24-00350
             Name


43.       Total of Part 7.                                                                                                          $1,800.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used     Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    LEASED: Four (4) 2020 NV200, Nissan,
                   wrapped work vans:
                   - VIN: 3N6CM0KN1LK690670 (Miles:
                   Unknown)
                   - VIN: 3N6CM0KN9LK692294 (Miles:
                   Unknown)
                   - VIN: 3N6CM0KN3LK692467 (Miles:
                   Unknown)
                   - VIN: 3N6CM0KN8LK692738 (Miles:
                   Unknown)                                                          $0.00     Liquidation                         $48,000.00


          47.2.    RENTAL - 1 Box Truck                                              $0.00     N/A                                       $0.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Varoius hand tools, chop saws, drills, shop
          vacs, air purifiers, pallet jack, nails, bolts,
          screws, and other miscellaneous items.                                     $0.00                                          $1,500.00




51.       Total of Part 8.                                                                                                     $49,500.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                      page 4
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                                                          Document      Page 7 of 43
Debtor        On The Level Construction, LLC                                               Case number (If known) 24-00350
              Name


              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used     Current value of
                                                                        debtor's interest          for current value         debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.otlkitchenandbath.com                                                     $0.00     Liquidation                               $1.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Client list                                                                   $0.00     Liquidation                               $1.00



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                               $2.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 5
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Debtor      On The Level Construction, LLC                                          Case number (If known) 24-00350
            Name

71.      Notes receivable
         Description (include name of obligor)

72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)
         Blueberry Mechanical (AKA B&B) - Hartford Insurance
         Claim# GL002015145 -Plumber hired to install ice maker
         which leaked and caused water damage that Debtor
         repaired and is seeking reimbursement.                                                                           $21,811.55
         Nature of claim         Breach of Contract
         Amount requested                      $21,811.55


         Blueberry Mechanical (AKA B&B) - Hartford Insurance
         (Pending Claim - no claim number assigned) -Plumber
         damaged carport that needs repaired and Debtor's
         client is withholding $1,000.00 pending repairs thereof.                                                          $1,000.00
         Nature of claim          Breach of Contract
         Amount requested                         $1,000.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims
         Employee Retention Credits for approximately
         $200,000.00
         Checkmates processed the claim                                                                                 $200,000.00
         Nature of claim       Employee Retention Credits
         Amount requested                     $200,000.00



76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                             $222,811.55
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                           page 6
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Debtor          On The Level Construction, LLC                                                                      Case number (If known) 24-00350
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $205.27

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $3,800.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $25,356.98

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                    $500.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $1,800.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $49,500.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $2.00

90. All other assets. Copy line 78, Part 11.                                                    +                $222,811.55

91. Total. Add lines 80 through 90 for each column                                                            $303,975.80           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $303,975.80




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 7
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Fill in this information to identify the case:

Debtor name         On The Level Construction, LLC

United States Bankruptcy Court for the:           DISTRICT OF SOUTH CAROLINA

Case number (if known)             24-00350
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Bay First                                    Describe debtor's property that is subject to a lien                 $277,822.58                 $25,356.98
      Creditor's Name                              90 days or less: Accounts Receivables -
                                                   Available Upon Request
      700 Central Avenue
      Saint Petersburg, FL 33701
      Creditor's mailing address                   Describe the lien
                                                   UCC-1 Lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      Carolina International
2.2                                                                                                                         $2,306.92                     $0.00
      Trucks                                       Describe debtor's property that is subject to a lien
      Creditor's Name                              RENTAL - 1 Box Truck
      1619 Bluff Road
      Columbia, SC 29201
      Creditor's mailing address                   Describe the lien
                                                   Rental
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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Debtor       On The Level Construction, LLC                                                        Case number (if known)      24-00350
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       Nissan Motor Acceptance
2.3                                                                                                                          $42,806.26             $48,000.00
       Corporation                                 Describe debtor's property that is subject to a lien
       Creditor's Name                             LEASED: Four (4) 2020 NV200, Nissan,
                                                   wrapped work vans:
                                                   - VIN: 3N6CM0KN1LK690670 (Miles:
                                                   Unknown)
                                                   - VIN: 3N6CM0KN9LK692294 (Miles:
                                                   Unknown)
                                                   - VIN: 3N6CM0KN3LK692467 (Miles:
                                                   Unknown)
                                                   - VIN: 3N6CM0KN8LK692738 (Miles:
       PO BOX 660360                               Unknown)
       Dallas, TX 75266-0360
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $322,935.76

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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Fill in this information to identify the case:

Debtor name        On The Level Construction, LLC

United States Bankruptcy Court for the:         DISTRICT OF SOUTH CAROLINA

Case number (if known)           24-00350
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Charleston County Tax Assessor                      Check all that apply.
          O.T. Wallace County Office                             Contingent
          Building                                               Unliquidated
          101 Meeting Street, Suite 315                          Disputed
          Charleston, SC 29401
          Date or dates debt was incurred                     Basis for the claim:
                                                              **Notice Purposes Only**
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Internal Revenue Service                            Check all that apply.
          Centralized Insolvency Operation                       Contingent
          P.O. Box 7346                                          Unliquidated
          Philadelphia, PA 19101-7346                            Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              **Notice Purposes Only**
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




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2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          S.C. Department of Revenue and                       Check all that apply.
          Taxation                                                Contingent
          Office of General Counsel                               Unliquidated
          300A Outlet Pointe Boulevard                            Disputed
          Columbia, SC 29210
          Date or dates debt was incurred                      Basis for the claim:
                                                               **Notice Purposes Only**
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          SC DEW                                               Check all that apply.
          Document Control-Bankruptcy                             Contingent
          P.O. Box 995                                            Unliquidated
          Columbia, SC 29202-0995                                 Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               **Notice Purposes Only**
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,350.00
          A1 Interior System                                                     Contingent
          5116 Birdie Lane                                                       Unliquidated
          Summerville, SC 29485                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Subcontractors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Accurate Plumbing                                                      Contingent
          105 Palm Court                                                         Unliquidated
          Summerville, SC 29485                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Subcontractors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          ADT Security                                                           Contingent
          1501 Yamato Road                                                       Unliquidated
          Boca Raton, FL 33431                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Security System
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $974.10
         AFLAC                                                        Contingent
         Worldwide Headquarters                                       Unliquidated
         1932 Wynnton Road                                            Disputed
         Columbus, GA 31999
                                                                   Basis for the claim: Insurance Premiums
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,928.20
         AHF, LLC                                                     Contingent
         3840 Hempland Road                                           Unliquidated
         Mountville, PA 17554                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Allied National Insurance                                    Contingent
         4551 W 107th St.                                             Unliquidated
         #100                                                         Disputed
         Overland Park, KS 66207
                                                                   Basis for the claim: Insurance Premiums
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $813.19
         Amazon                                                       Contingent
         410 Terry Avenue N.                                          Unliquidated
         Seattle, WA 98109                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $78,035.88
         American Express                                             Contingent
         200 Vesey Street                                             Unliquidated
         New York, NY 10285                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,931.44
         Bella Flooring Group                                         Contingent
         3572 S. Dug Gap Road                                         Unliquidated
         Dalton, GA 30720                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Best Version Media                                           Contingent
         PO Box 505                                                   Unliquidated
         Brookfield, WI 53008                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Marketing Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $108,645.09
         Bluevine                                                     Contingent
         401 Warren Street                                            Unliquidated
         Redwood City, CA 94063                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $0.00
         Bradley Simmons                                              Contingent
         228 Magnolia Road                                            Unliquidated
         Charleston, SC 29407                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - All materials have been ordered.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,594.02
         Build.com                                                    Contingent
         402 Otterson Drive                                           Unliquidated
         Suite 100                                                    Disputed
         Chico, CA 95928
                                                                   Basis for the claim: Vendor Supplies
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $0.00
         Cameron Beacham                                              Contingent
         5805 Windsor Court                                           Unliquidated
         Hanahan, SC 29410                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - Customer paid 50% deposit.                 Refund in
         Last 4 digits of account number                           process
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $20,335.20
         Capital One                                                  Contingent
         1680 Capital One Drive                                       Unliquidated
         Mc Lean, VA 22102                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Carolina Climate Control                                     Contingent
         1912 Belgrade Avenue                                         Unliquidated
         Charleston, SC 29407
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Subcontractors
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,020.75
         Cash Varner                                                  Contingent
         679 Savannah Highway                                         Unliquidated
         Charleston, SC 29407                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Charissa DeBow                                               Contingent
         5 Skyeman Drive                                              Unliquidated
         Charleston, SC 29414                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - All materials have been ordered and project
         Last 4 digits of account number                           near completion
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $49.86
         Charletson Water System                                      Contingent
         103 St. Philip Street                                        Unliquidated
         Charleston, SC 29403                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility - Water
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $760.32
         Christopher Sendeno                                          Contingent
         115 Lyle Road                                                Unliquidated
         Adams Run, SC 29426                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,119.16
         Daniel Samuelson-Jones                                       Contingent
         918 Groomstown Road                                          Unliquidated
         Cross, SC 29436                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,182.87
         DCC Cabinetry                                                Contingent
         100 TGK Circle                                               Unliquidated
         Rockledge, FL 32955                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Deseret Scharett                                             Contingent
         1414 Kinglet Lane                                            Unliquidated
         Hanahan, SC 29410                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - All materials have been ordered
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Dominion Energy                                              Contingent
         P.O. Box 25973                                               Unliquidated
         Richmond, VA 23260                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility - Electricity
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $576.92
         Dylan Brisson                                                Contingent
         119 Williams Street                                          Unliquidated
         Summerville, SC 29483                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Edward Young                                                 Contingent
         4965 Foxwood Drive                                           Unliquidated
         North Charleston, SC 29418                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - Owes final payment of $7,075.15.              Plumber
         Last 4 digits of account number                           needs to repair carport he damaged.
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,095.00
         Electric On Demand                                           Contingent
         3642 Savannah Highway                                        Unliquidated
         #116-243                                                     Disputed
         Johns Island, SC 29455
                                                                   Basis for the claim: Subcontractors
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Emily Chamberlain                                            Contingent
         5399 Indigo Fields Blvd.                                     Unliquidated
         North Charleston, SC 29418                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - Project completed. Client owes final payment
         Last 4 digits of account number                           plus fees.
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $219,228.87
         First Citizens Bank                                          Contingent
         218 South Main Street                                        Unliquidated
         Summerville, SC 29483                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,949.63
         Floor and Decor                                              Contingent
         2500Windy Ridge Parkway                                      Unliquidated
         Atlanta, GA 30339                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,153.85
         Hannah Varner                                                Contingent
         679 Savannah Highway                                         Unliquidated
         Charleston, SC 29407                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,392.31
         Henry Smith                                                  Contingent
         8680 Hickory Creek Lane                                      Unliquidated
         North Charleston, SC 29420                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $749.59
         International Wholesale Tile                                 Contingent
         P.O. Box 877                                                 Unliquidated
         Palm City, FL 34991                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Jackie Woolschlager                                          Contingent
         66 Fletcher Hall                                             Unliquidated
         Johns Island, SC 29455                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - Job is completed.                Client owes $8,893.21
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Jeffrey Harris                                               Contingent
         4332 Helene Drive                                            Unliquidated
         North Charleston, SC 29418                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - Customer paid their 50% down and unable to
         Last 4 digits of account number                           order any of the materials.
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Jennifer Yniesta                                             Contingent
         4804 Hearthside Drive                                        Unliquidated
         Summerville, SC 29485                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - All materials have been ordered.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Karen Maass                                                  Contingent
         2325 Furman Drive                                            Unliquidated
         Charleston, SC 29414                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - Project near completion.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Karen McClarren                                              Contingent
         203 Bush Drive                                               Unliquidated
         Bonneau, SC 29431                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - All materials have been ordered. Customer
         Last 4 digits of account number                           has check for 50% of project that has not been deposited. Needs to
                                                                   be returned.
                                                                   Is the claim subject to offset?     No       Yes




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3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,481.32
         KBRS                                                         Contingent
         8406 Speedway Blvd.                                          Unliquidated
         Hardeeville, SC 29927                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $31,287.43
         KCD                                                          Contingent
         2114 Atlantic Avenue                                         Unliquidated
         #106                                                         Disputed
         Raleigh, NC 27604
                                                                   Basis for the claim: Vendor Supplies
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,000.00
         L & C Leo's Painting                                         Contingent
         5918 Sellers Road                                            Unliquidated
         Lot 27                                                       Disputed
         Hanahan, SC 29410
                                                                   Basis for the claim: Subcontractors
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Laura Skews                                                  Contingent
         1328 Horseshoe Bend                                          Unliquidated
         Mount Pleasant, SC 29464                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - Paid in full. All materials have ordered and a
         Last 4 digits of account number                           lot of work completed.
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,000.00
         LeftLane Marketing                                           Contingent
         1435 Fort Johnson Road                                       Unliquidated
         Charleston, SC 29412                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Marketing Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Leon Amos                                                    Contingent
         106 Writing Court                                            Unliquidated
         Ladson, SC 29456                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - Pending payment of start payment of
         Last 4 digits of account number                           $5,870.04
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $24,059.04
         Lowes                                                        Contingent
         1000 Lowes Blvd.                                             Unliquidated
         Mooresville, NC 28117                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Marabu US Properties LP                                      Contingent
         960 Morrison Drive, Suite 400                                Unliquidated
         Charleston, SC 29403                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Lease
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,805.00
         Modern Design Home Improvement                               Contingent
         4793 Wild Iris Drive                                         Unliquidated
         Myrtle Beach, SC 29577                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Subcontractors
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,283.77
         Nicholas Wood                                                Contingent
         9 Indigo Lane                                                Unliquidated
         Goose Creek, SC 29445                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - Client materials in warehouse
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,856.25
         Nourison                                                     Contingent
         5 Sampson Street                                             Unliquidated
         Saddle Brook, NJ 07663                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,561.61
         NZR Construction                                             Contingent
         101 Bridgetown Road                                          Unliquidated
         Goose Creek, SC 29445                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Subcontractors
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Palmetto Surfacing, Inc.                                     Contingent
         7645 Southrail Road                                          Unliquidated
         North Charleston, SC 29420                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Subontractor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Pam Heine                                                    Contingent
         1444 Lagoon Park                                             Unliquidated
         Mount Pleasant, SC 29466                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - Owes $7,250.00. Just needs tub installed
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 9 of 13
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Debtor      On The Level Construction, LLC                                                  Case number (if known)            24-00350
            Name

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Paul and Leslie Lymburner                                    Contingent
         352 Sandpiper Drive                                          Unliquidated
         Unit J                                                       Disputed
         Mount Pleasant, SC 29464
                                                                   Basis for the claim: Client - All materials have been ordered and project is
         Date(s) debt was incurred
                                                                   near completion.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $25,341.00
         Perfect Group                                                Contingent
         302 Thorpe Road                                              Unliquidated
         Summerville, SC 29483                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $24,000.00
         Quickbooks                                                   Contingent
         2700 Coast Avenue                                            Unliquidated
         Mountain View, CA 94043                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,147.20
         Robert Clark                                                 Contingent
         2013 Shoal Creek Court                                       Unliquidated
         Summerville, SC 29483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $938.82
         Robert F. Henry Tile Co.                                     Contingent
         P.O. Box 211209                                              Unliquidated
         Montgomery, AL 36121                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $95,000.00
         Samuel Kaufman                                               Contingent
         126 Heatherwood Lane                                         Unliquidated
         Greer, SC 29651                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Personal Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $865.00
         Sara Duck                                                    Contingent
         1414 Kinglet Lane                                            Unliquidated
         Hanahan, SC 29410                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 10 of 13
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Debtor      On The Level Construction, LLC                                                  Case number (if known)            24-00350
            Name

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Selective Insurance                                          Contingent
         6210 Ardrey Kell Road                                        Unliquidated
         Suite 500                                                    Disputed
         Charlotte, NC 28277
                                                                   Basis for the claim: Insurance Premiums
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,264.67
         ServiceMaster of Charleston                                  Contingent
         P.O. Box 40549                                               Unliquidated
         Charleston, SC 29423                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Subcontractors
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $0.00
         Sharon Shark                                                 Contingent
         5818 Charleston Highway                                      Unliquidated
         Walterboro, SC 29488                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - Most of project has been completed.
         Last 4 digits of account number                           Customer has 25% final payment.
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,101.09
         Sherwin Williams                                             Contingent
         2135 Ashley Phosphate Road                                   Unliquidated
         Charleston, SC 29406                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $0.00
         Shon Nelson                                                  Contingent
         1850 Falling Creek Circle                                    Unliquidated
         Mount Pleasant, SC 29464                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - All materials have been ordered.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Supreme Hardwood Flooring                                    Contingent
         204 Ivy Bridge Ct                                            Unliquidated
         Goose Creek, SC 29445                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Supplier
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $0.00
         Thomas Plyler                                                Contingent
         3098 Moonlight Drive                                         Unliquidated
         Charleston, SC 29414                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Client - Customer paid 50% deposit.                 Refund in
         Last 4 digits of account number                           process
                                                                   Is the claim subject to offset?     No       Yes




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             Name

3.67      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Vance Bailey                                                         Contingent
          1000 Churchill Road                                                  Unliquidated
          Moncks Corner, SC 29461                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Client - All materials have been ordered
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.68      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          Verizon                                                              Contingent
          1 Verizon Way                                                        Unliquidated
          Basking Ridge, NJ 07920                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Utility - Telephone
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.69      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $954.09
          Wells Fargo                                                          Contingent
          420 Montgomery Street                                                Unliquidated
          San Francisco, CA 94104                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.70      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,217.49
          Wex Bank                                                             Contingent
          P.O. Box 6293                                                        Unliquidated
          Carol Stream, IL 60197                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.71      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $400.00
          WOW! Internet                                                        Contingent
          4506 Dorchester Road                                                 Unliquidated
          North Charleston, SC 29405                                           Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Utilitiy - Internet
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.72      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $4,850.00
          WR Contractors                                                       Contingent
          308 Farm Road                                                        Unliquidated
          Goose Creek, SC 29445                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Subcontractors
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       Paul and Leslie Lymburner
          4794 Oakridge Lane                                                                        Line     3.53
          Lewiston, NY 14092
                                                                                                           Not listed. Explain


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Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                              5a.       $                          0.00
5b. Total claims from Part 2                                                              5b.   +   $                    716,300.03

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.       $                      716,300.03




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 13 of 13
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Fill in this information to identify the case:

Debtor name       On The Level Construction, LLC

United States Bankruptcy Court for the:     DISTRICT OF SOUTH CAROLINA

Case number (if known)     24-00350
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Rental of box truck -
           lease is for and the nature of        Started 9/26/2022 for 72
           the debtor's interest                 months at
                                                 approximately
                                                 $2,300.00
               State the term remaining          September 26/2028
                                                                                    Carolina International Trucks
           List the contract number of any                                          1619 Bluff Road
                 government contract                                                Columbia, SC 29201


2.2.       State what the contract or            Commercial Lease -
           lease is for and the nature of        Monthly $4,698.06
           the debtor's interest

               State the term remaining          October 31, 2025
                                                                                    Marabu US Properties LP
           List the contract number of any                                          960 Morrison Drive, Suite 400
                 government contract                                                Charleston, SC 29403


2.3.       State what the contract or            Vehicle Lease - Four
           lease is for and the nature of        2020 Nissan NV200 -
           the debtor's interest                 For one the monthly
                                                 payment is $459.07,
                                                 and for other three the
                                                 monthly payment is
                                                 $462.44/each.
               State the term remaining          February 14, 2026
                                                                                    Nissan Motor Acceptance Corporation
           List the contract number of any                                          PO BOX 660360
                 government contract                                                Dallas, TX 75266-0360




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2
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Debtor 1 On The Level Construction, LLC                                          Case number (if known)   24-00350
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.4.      State what the contract or         Cellphone service -
          lease is for and the nature of     $781.85/month
          the debtor's interest

             State the term remaining
                                                                        Verizon
          List the contract number of any                               1 Verizon Way
                government contract                                     Basking Ridge, NJ 07920


2.5.      State what the contract or         Internet Modem and
          lease is for and the nature of     Office Phone -
          the debtor's interest              $497.60/month

             State the term remaining
                                                                        WOW! Internet
          List the contract number of any                               4506 Dorchester Road
                government contract                                     North Charleston, SC 29405




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2
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Fill in this information to identify the case:

Debtor name      On The Level Construction, LLC

United States Bankruptcy Court for the:   DISTRICT OF SOUTH CAROLINA

Case number (if known)   24-00350
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Amanda                      126 Heathwood Lane                                        Bay First                          D   2.1
          Kaufman                     Greer, SC 29651                                                                              E/F
                                      Personal Guarantor
                                                                                                                                   G




   2.2    Samuel Kaufman              126 Heathwood Lane                                        First Citizens Bank                D
                                      Greer, SC 29651                                                                              E/F       3.29
                                      Personal Guaranty
                                                                                                                                   G




   2.3    Samuel Kaufman              126 Heathwood Lane                                        Bay First                          D   2.1
                                      Greer, SC 29651                                                                              E/F
                                      Personal Guaranty
                                                                                                                                   G




   2.4    Samuel Kaufman              126 Heathwood Lane                                        Bluevine                           D
                                      Greer, SC 29651                                                                              E/F       3.11
                                      Personal Guaranty
                                                                                                                                   G




   2.5    Samuel Kaufman              126 Heathwood Lane                                        American Express                   D
                                      Greer, SC 29651                                                                              E/F       3.8
                                      Personal Guaranty
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Samuel Kaufman           126 Heathwood Lane                                  Capital One                        D
                                   Greer, SC 29651                                                                        E/F   3.15
                                   Personal Guaranty
                                                                                                                          G




  2.7     Samuel Kaufman           126 Heathwood Lane                                  Quickbooks                         D
                                   Greer, SC 29651                                                                        E/F   3.55
                                   Personal Guaranty
                                                                                                                          G




  2.8     Samuel Kaufman           126 Heathwood Lane                                  Nissan Motor                       D   2.3
                                   Greer, SC 29651                                     Acceptance                         E/F
                                   Personal Guaranty                                   Corporation
                                                                                                                          G




  2.9     Samuel Kaufman           126 Heathwood Lane                                  Carolina International             D   2.2
                                   Greer, SC 29651                                     Trucks                             E/F
                                   Personal Guaranty
                                                                                                                          G




  2.10    Samuel Kaufman           126 Heathwood Lane                                  Marabu US                          D
                                   Greer, SC 29651                                     Properties LP                      E/F   3.46
                                   Personal Guaranty
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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Fill in this information to identify the case:

Debtor name         On The Level Construction, LLC

United States Bankruptcy Court for the:    DISTRICT OF SOUTH CAROLINA

Case number (if known)    24-00350
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $123,327.16
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $3,277,593.52
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                             $3,304,649.95
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.1.
             Bluevine                                        01/22/2024 -                     $60,233.32           Secured debt
             401 Warren Street                               $12,170.35                                            Unsecured loan repayments
             Redwood City, CA 94063                          12/20/2023 -
                                                                                                                   Suppliers or vendors
                                                             $21,055.76
                                                                                                                   Services
                                                             11/21/2023 -
                                                             $17,007.21                                            Other


      3.2.
             American Express                                01/16/2024 -                     $21,771.00           Secured debt
             200 Vesey Street                                $7,257.00                                             Unsecured loan repayments
             New York, NY 10285                              12/15/2023 -
                                                                                                                   Suppliers or vendors
                                                             $7,257.00
                                                                                                                   Services
                                                             11/15/2023 -
                                                             $7,257.00                                             Other


      3.3.
             American Express                                01/22/2024 -                       $5,904.00          Secured debt
             200 Vesey Street                                $1,968.00                                             Unsecured loan repayments
             New York, NY 10285                              12/22/2023 -
                                                                                                                   Suppliers or vendors
                                                             $1,968.00
                                                                                                                   Services
                                                             11/22/2023-
                                                             $1,968.00                                             Other


      3.4.
             Lowes                                           01/22/2024 -                     $10,337.35           Secured debt
             1000 Lowes Blvd.                                $345.48                                               Unsecured loan repayments
             Mooresville, NC 28117                           01/22/2024 -
                                                                                                                   Suppliers or vendors
                                                             $21.78
                                                                                                                   Services
                                                             01/22/2024 -
                                                             $749.20                                               Other
                                                             01/19/2024 -
                                                             $4,500.00
                                                             01/18/2024 -
                                                             $104.31
                                                             01/18/2024 -
                                                             $266.27
                                                             01/08/2024 -
                                                             $3,000.00
                                                             01/08/2024
                                                             -$3,350.31




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      Creditor's Name and Address                              Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                   Check all that apply
      3.5.
             Lowes                                             12/28/2023                         $9,770.74          Secured debt
             1000 Lowes Blvd.                                  -$331.32                                              Unsecured loan repayments
             Mooresville, NC 28117                             12/28/2023 -
                                                                                                                     Suppliers or vendors
                                                               $331.36
                                                                                                                     Services
                                                               12/28/2023 -
                                                               $207.08                                               Other
                                                               12/28/2023 -
                                                               $721.50
                                                               12/28/2023 -
                                                               $259.42
                                                               12/28/2023 -
                                                               $42.03
                                                               12/21/2023 -
                                                               $2,000.00
                                                               12/08/2023 -
                                                               $217.77
                                                               12/08/2023 -
                                                               $101.44
                                                               12/07/2023 -
                                                               $558.82
                                                               12/06/2023
                                                               -$5,000.00
      3.6.
             Lowes                                             11/13/2023 -                       $6,000.00          Secured debt
             1000 Lowes Blvd.                                  $3,000.00                                             Unsecured loan repayments
             Mooresville, NC 28117                             11/06/2023 -
                                                                                                                     Suppliers or vendors
                                                               $3,000.00
                                                                                                                     Services
                                                                                                                     Other


      3.7.
             Carolina Climate Control                          Various for                      $10,684.14           Secured debt
             1912 Belgrade Avenue                              December                                              Unsecured loan repayments
             Charleston, SC 29407                              through                                               Suppliers or vendors
                                                               February
                                                                                                                     Services
                                                                                                                     Other


      3.8.
             Checkmate Services                                01/31/2024 -                    $149,092.86           Secured debt
             P.O. Box 31918                                    $1,464.50                                             Unsecured loan repayments
             Charleston, SC 29417                              01/29/2024 -                                          Suppliers or vendors
                                                               $22,439.86
                                                                                                                     Services
                                                               01/12/2024 -
                                                               $22,827.73                                            Other Payroll - Inhouse
                                                               12/29/2023 -                                        Employees
                                                               $26,552.94
                                                               12/15/2023 -
                                                               $27,450.89
                                                               12/01/2023 -
                                                               $23,720.27
                                                               11/17/2023 -
                                                               $24,636.67




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      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.9.
             Checkmate Services                              01/26/2024 -                     $85,197.32           Secured debt
             P.O. Box 31918                                  $9,933.02                                             Unsecured loan repayments
             Charleston, SC 29417                            01/19/2024 -                                          Suppliers or vendors
                                                             $13,399.82
                                                                                                                   Services
                                                             01/11/2024 -
                                                             $8,671.08                                             Other Payroll -
                                                             01/05/2024 -                                        Subcontractors
                                                             $3,805.00
                                                             12/29/2023 -
                                                             $13,091.08
                                                             12/22/2023 -
                                                             $8,059.00
                                                             12/15/2023 -
                                                             $1,145.00
                                                             12/07/2023 -
                                                             $2,616.00
                                                             11/30/2023 -
                                                             $2,240.43
                                                             11/23/2023 -
                                                             $11,194.68
                                                             11/16/2023 -
                                                             $10,942.21
      3.10
      .
           Capital One                                       01/09/2024 -                     $27,930.19           Secured debt
             1680 Capital One Drive                          $2,630.19                                             Unsecured loan repayments
             Mc Lean, VA 22102                               12/06/2023 -
                                                                                                                   Suppliers or vendors
                                                             $7,000.00
                                                                                                                   Services
                                                             12/04/2023 -
                                                             $7,000.00                                             Other
                                                             11/13/2023 -
                                                             $5,000.00
                                                             11/08/2023 -
                                                             $6,300.00
      3.11
      .
           Perfect Group                                     Various                          $37,613.10           Secured debt
             302 Thorpe Road                                                                                       Unsecured loan repayments
             Summerville, SC 29483
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.12
      .
           First Citizens Bank                               Various                          $18,537.87           Secured debt
             218 South Main Street                                                                                 Unsecured loan repayments
             Summerville, SC 29483
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.13
      .
           Bay First                                         Various                          $12,857.61           Secured debt
             700 Central Avenue                                                                                    Unsecured loan repayments
             Saint Petersburg, FL 33701
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other




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      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.14
      .
           KCD                                                     Various                          $36,749.59                Secured debt
             2114 Atlantic Avenue                                                                                             Unsecured loan repayments
             #106
                                                                                                                              Suppliers or vendors
             Raleigh, NC 27604
                                                                                                                              Services
                                                                                                                              Other


      3.15
      .
           Broadlume                                               Various                            $9,330.25               Secured debt
             500 Mamaroneck Avenue                                                                                            Unsecured loan repayments
             Suite 320                                                                                                        Suppliers or vendors
             Harrison, NY 10528
                                                                                                                              Services
                                                                                                                           Other Website Hosting and
                                                                                                                         Maintenance

      3.16
      .
           Selective Insurance                                     Various                          $10,323.00                Secured debt
             6210 Ardrey Kell Road                                                                                            Unsecured loan repayments
             Suite 500                                                                                                        Suppliers or vendors
             Charlotte, NC 28277
                                                                                                                              Services
                                                                                                                              Other Vehicle Insurance



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Verizon                                               Various                            $2,700.00          Cellphones for business and
             1 Verizon Way                                                                                               personal use
             Basking Ridge, NJ 07920

      4.2.   Selective Insurance                                   Various                          $10,323.00           Vehicle Insurance on company
             6210 Ardrey Kell Road                                                                                       & personal vehicles
             Suite 500
             Charlotte, NC 28277

      4.3.   Allied National Insurance                             Various                            $6,405.00          Health Insurance - All
             4551 W 107th St.                                                                                            employees
             #100
             Overland Park, KS 66207

      4.4.   Aetna Healthcare                                      Varoius                              $450.00          Dental Insurance
             2000 Riveredge Parkway
             Atlanta, GA 30328

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         None

      Creditor's name and address                      Describe of the Property                                        Date                   Value of property


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6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken
      Carolina Climate Control                         Funds from business checking account -                          varoius                    $10,684.14
      1912 Belgrade Avenue                             without debtor's consent
      Charleston, SC 29407                             Last 4 digits of account number: 3340


Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case               Court or agency's name and               Status of case
             Case number                                                            address
      7.1.   Nicholas Wood vs. On The                  Contract - Seeking           Charleston County                            Pending
             Level Construction                        refund of payment            Summary (Magistrate)                         On appeal
             2023CV1011501668                          for materials                Court
                                                                                                                                 Concluded
                                                                                    4045 Bridge View Drive
                                                                                    Suite B143
                                                                                    North Charleston, SC 29405


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                  Dates of loss               Value of property
      how the loss occurred                                                                                                                               lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy


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    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

         None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Pohl, P.A.
               P.O. Box 27290
               Greenville, SC 29616                      Attorney Fees                                                 01/28/2024                $10,000.00

               Email or website address
               Robert@POHLPA.com

               Who made the payment, if not debtor?




      11.2.    Pohl, P.A.
               P.O. Box 27290
               Greenville, SC 29616                      Filing Fees                                                   01/28/2024                   $338.00

               Email or website address
               Robert@POHLPA.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

         None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

         None.

              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value
      13.1 Richard Johnson                             Sold 2011 Ford F150 used by Debtor
      .    243 Coral Sunset Way                        could have been in name of Sam or
              Summerville, SC 29486                    Amanda Kaufman or Debtor.                                 12/2023                            $250.00

              Relationship to debtor
              None


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.




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          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     3525 Iron Horse Road                                                                                10/01/2018 to 11/01/2021
                Suite 104
                Ladson, SC 29456

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address                Nature of the business operation, including type of services           If debtor provides meals
                                                         the debtor provides                                                    and housing, number of
                                                                                                                                patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and             Last 4 digits of          Type of account or          Date account was              Last balance
              Address                                    account number            instrument                  closed, sold,             before closing or
                                                                                                               moved, or                          transfer
                                                                                                               transferred
      18.1.     Wells Fargo                              XXXX-7538                    Checking                 11/09/2023                           $43.60
                4400 Dorchester Road                                                  Savings
                Summerville, SC 29485
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other

      18.2.     Wells Fargo                              XXXX-1460                    Checking                 11/09/2023                           $30.01
                4400 Dorchester Road                                                  Savings
                Summerville, SC 29485
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


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19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None

      Owner's name and address                               Location of the property              Describe the property                                   Value
      Vance Bailey                                           2460 Remount Road                     Cabinet Package, Sales Order                    $10,490.49
      1000 Churchill Road                                    #108                                  345934
      Moncks Corner, SC 29461                                Charleston, SC 29406

      Owner's name and address                               Location of the property              Describe the property                                   Value
      Laura Skews                                            2460 Remount Road                     Cabinet trim                                        $326.03
      1328 Horseshoe Bend                                    #108
      Mount Pleasant, SC 29464                               Charleston, SC 29406

      Owner's name and address                               Location of the property              Describe the property                                   Value
      Deseret Scharett                                       2460 Remount Road                     Flooring, risers, vapor barrier                   $4,488.91
      1414 Kinglet Lane                                      #108                                  & quarter round.
      Hanahan, SC 29410                                      Charleston, SC 29406

      Owner's name and address                               Location of the property              Describe the property                                   Value
      Shon Nelson                                            2406 remount Road                     Drywall, sheetrock mud,                           $7,881.39
      1850 Falling Creek Circle                              #108                                  cabrs showerpan, shower
      Mount Pleasant, SC 29464                               Charleston, SC 29406                  drain, 2 shower curves, 6
                                                                                                   shower wall backer boards, 3
                                                                                                   shower niches, tile, grout,
                                                                                                   schlutter, shower head
                                                                                                   faucet, tub, tub faucet,
                                                                                                   cabinets, hardware, sink,
                                                                                                   faucet, lights, toilet, bathroom
                                                                                                   accessory setting, exhaust
                                                                                                   fan, base board, quarter
                                                                                                   round, trim, and paint




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      Owner's name and address                            Location of the property              Describe the property                          Value
      Karen McClarren                                     2406 Remount Road                     2X4 boards, drywall, onyx                 $7,697.95
      203 Bush Drive                                      #108                                  shower system, shower
      Bonneau, SC 29431                                   Charleston, SC 29406                  bench, curtain rod, backer
                                                                                                board, tile, grout, schlutter,
                                                                                                shower faucet system, vanity
                                                                                                cabinet, faucet, mirrors, toilet,
                                                                                                grab bars, bathroom
                                                                                                accessory set, water closet
                                                                                                shelving, and quarter round.

      Owner's name and address                            Location of the property              Describe the property                          Value
      Bradley Simmons                                     2460 Remount Road                     Cabinets                                  $8,182.87
      228 Magnolia Road                                   #108
      Charleston, SC 29407                                Charleston, SC 29406

      Owner's name and address                            Location of the property              Describe the property                          Value
      Paul and Leslie Lymburner                           2460 Remount Road                     Drywall, joint compound,                 $26,040.05
      352 Sandpiper Drive                                 #108                                  cabinetry, hardware, sink
      Unit J                                              Charleston, SC 29406                  faucet, tile, grout, schlutter,
      Mount Pleasant, SC 29464                                                                  baseboard, quarter round,
                                                                                                ceiling lighting, shower pan,
                                                                                                drain, shower curve, backer
                                                                                                board, niche, curtain rod,
                                                                                                mirror, towel ring, exhaust
                                                                                                fan, tub, tub drain assembly,
                                                                                                shower system, bathroom
                                                                                                hardware set, self leveler,
                                                                                                LVP, reducers, stair nosing,
                                                                                                staircase risers and paint.

      Owner's name and address                            Location of the property              Describe the property                          Value
      Jennifer Yniesta                                    2460 Remount Road                     Tile, grout, and schlutter.                 $187.01
      4804 Hearthside Drive                               #108
      Summerville, SC 29485                               Charleston, SC 29406

      Owner's name and address                            Location of the property              Describe the property                          Value
      Charissa DeBow                                      2460 Remount Road                     Cabinets, cabinet                        $21,776.35
      5 Skyeman Drive                                     #108                                  accessories, kitchen sink,
      Charleston, SC 29414                                Charleston, SC 29406                  sink faucet, air switch,
                                                                                                lighting, backsplash material,
                                                                                                tile, grout, schlutter,
                                                                                                baseboard, quarter round,
                                                                                                drywall, joint compound,
                                                                                                subfloor material, insulation,
                                                                                                shower pan, shower drain,
                                                                                                backer board, niche, shower
                                                                                                fixture system, closet door,
                                                                                                water closet door, skirted
                                                                                                toilet, and shower grab bar.

      Owner's name and address                            Location of the property              Describe the property                          Value
      Nicholas Wood                                       2460 Remount Road                     Cabinets                                  $3,289.89
      9 Indigo Lane                                       #108
      Goose Creek, SC 29445                               `
                                                          Charleston, SC 29406


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
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     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Humphreys Consulting & Tax, LLC                                                                                    2021 through
                    8887 Old University Blvd,                                                                                          present
                    Charleston, SC 29406

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

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      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Amanda Kaufman                                                                   Everything is on Quickbooks Online
                    126 Heathwood Lane
                    Greer, SC 29651

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Bay First
                    700 Central Avenue
                    Saint Petersburg, FL 33701

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Samuel Kaufman                          126 Heathwood Lane                                  CEO                                       100%
                                              Greer, SC 29651                                                                               membership
                                                                                                                                            interests
                                                                                                                                            (voting and
                                                                                                                                            distribution)


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value
      30.1                                                                                                       January 2023
      .    Samuel Kaufman                                                                                        through               Salary ($40,000.)
               126 Heathwood Lane                      Salary ($40,000.) & Distributions                         December              & Distributions
               Greer, SC 29651                         ($105,089.66)                                             2023                  ($105,089.66)

               Relationship to debtor
               Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
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           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         February 2, 2024

/s/ Samuel Kaufman                                              Samuel Kaufman
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Sole Owner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                        United States Bankruptcy Court
                                                               District of South Carolina
 In re       On The Level Construction, LLC                                                                   Case No.      24-00350
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

              RETAINER
             For legal services, I have agreed to accept and received a retainer of                       $
             The undersigned shall bill against the retainer at an hourly rate of                         $
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
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                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   February 2, 2024                                                      /s/ Robert Pohl
   Date                                                                  Robert Pohl
                                                                         Signature of Attorney
                                                                         Pohl, P.A.
                                                                         P.O. Box 27290
                                                                         Greenville, SC 29616
                                                                         864-233-6294 Fax: 864-558-5291
                                                                         Robert@POHLPA.com
                                                                         Name of law firm
